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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

  UNITED STATES OF AMERICA,                          )
                                                     )
                              Plaintiff,             )
                                                     )
                       v.                            )     Case No. 1:16-cr-00001-TWP-TAB
                                                     )
  DUPRECE JETT (1), DAMON MCKISSICK                  )
  (02), and EARL WALKER (3)                          )
                                                     )

                              Defendant.

           ENTRY ON DEFENDANT EARL WALKER’S MOTION TO SEVER

       This matter is before the Court on Defendant Earl Walker’s (“Walker”) Motion to Sever

(Filing No. 64). Walker contends that while joining him for trial with co-defendant Damian

McKissick (“McKissick”) was not improper under Federal Rule of Criminal Procedure 8(b),

severance is appropriate under Rule 14 and Bruton v. United States, 391 U.S. 123 (1968) because

of prejudice that would result from a joint trial. For the reasons stated below, Walker’s Motion to

Sever is DENIED.

                               I. FACTUAL BACKGROUND

       On December 18, 2015, in a two-count criminal complaint, Walker and co-defendants

McKissick and Duprece Jett (“Jett”) were charged with conspiracy to commit robbery, 18 U.S.C.

§ 1951(a), and attempted bank robbery, 18 U.S.C. § 2113(a). On January 15, 2016, a federal grand

jury returned a two-count Indictment charging the three men with conspiracy to commit robbery

and attempted bank robbery. The three cases were joined and are set for trial on October 24, 2016.

       The following facts are alleged by the Government: During the latter part of 2015, Walker’s

co-defendants, McKissick and Jett, robbed various financial institutions. On December 12, 2015,
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Walker, McKissick, and Jett attempted to rob an Indiana Members Credit Union branch in

Indianapolis, Indiana.     That morning, law enforcement officers conducted surveillance at a

residence in Indianapolis. The officers followed vehicles that left the residence, which eventually

led the officers to the credit union where individuals were “casing” the credit union. A Buick

LeSabre was driving by the credit union to “case it,” and when law enforcement officers believed

that the individuals were about to rob the credit union, they intervened and attempted to stop the

LeSabre.

       The person driving the LeSabre did not stop the vehicle when law enforcement officers

tried to intervene. Instead, the driver of the car led the officers on a high-speed chase over the

course of approximately seventeen miles, reaching speeds of 115 miles per hour. The driver of

the LeSabre eventually lost control of the car and slowed enough to allow the passenger to jump

out of the car. When the car stopped, the driver also jumped out of the car. The individuals began

to flee from law enforcement officers on foot. After further pursuit by the officers, the individuals

were arrested. The driver of the LeSabre was identified as Walker, and the passenger was

identified as McKissick.

       Walker and McKissick were taken to the Indianapolis Metropolitan Police Department so

that law enforcement officers could conduct post-arrest interviews. They were placed in adjacent

rooms. Walker invoked his Fifth Amendment rights and refused to answer any questions.

McKissick made numerous attempts to communicate with Walker. He also made statements that

were video-recorded. On the video, McKissick is seen and heard calling Walker’s name in an

attempt to communicate with him. He shouted instructions to Walker of what he should tell law

enforcement officers and commented on the law enforcement officers’ conduct. McKissick

shouted to Walker:



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       Hey Earl! Earl! Nothing…joyriding…fleeing.
       Hey Earl! Hey Bro.
       They jumped the gun. I say they jumped the gun. We ain’t do shit. They didn’t
       give us a chance. So—hey—uhh.

(Filing No. 64-1 at 2). Based on these statements, Walker filed a motion to sever his trial from the

trial of his co-defendant McKissick.

                                   II.    LEGAL STANDARD

       The district court should grant severance to properly joined defendants “only if there is a

serious risk that a joint trial would compromise a specific trial right of one of the defendants, or

prevent the jury from making a reliable judgment about guilt or innocence.” Zafiro v. United

States, 506 U.S. 534, 539 (1993). Rule 14 allows the district court to sever a defendant’s trial if

joinder appears to prejudice the defendant, and the defendant bears the heavy burden of making

“‘a strong showing of factually specific and compelling prejudice’ that will ‘mislead or confuse

the jury.’” United States v. Dixon, 2015 U.S. Dist. LEXIS 65126, at *2 (S.D. Ind. May 19, 2015)

(quoting United States v. Moore, 917 F.2d 215, 221 (6th Cir. 1990)); United States v. Davis, 177

F.3d 552, 558 (6th Cir. 1999) (“defendant seeking severance at trial from co-defendants bears a

strong burden and must demonstrate substantial, undue, or compelling prejudice”). To make this

showing, “the defendant must demonstrate the jury’s inability to distinguish the evidence relevant

to each defendant.” Moore, 917 F.2d at 221. If the defendant is “‘able to show some potential

jury confusion, such confusion must be balanced against society’s interest in speedy and efficient

trials.’” Dixon, 2015 U.S. Dist. LEXIS 65126, at *2–3 (quoting Murr v. United States, 200 F.3d

895, 904 (6th Cir. 2000). Furthermore, “less drastic measures, such as limiting instructions, often

will suffice to cure any risk of prejudice.” Zafiro, 506 U.S. at 539.

                                         III. DISCUSSION

       Without analysis and with only minimal explanation, Walker asserts that he will be

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prejudiced by a joint trial with McKissick if McKissick’s post-arrest statements are admitted as

evidence in their joint trial, and these statements may lead to jury confusion. He then relies on

Bruton, 391 U.S. at 136–37, to assert that severance is appropriate in this case because the

Government may try to use McKissick’s statements as evidence in the joint trial, and the statements

are probative of Walker’s guilt but are “technically admissible only against [McKissick].” (Filing

No. 64-1 at 3.)

       In Bruton, the Supreme Court held that where a co-defendant makes a powerfully

incriminating, extra-judicial statement and does not testify at trial, that statement cannot be

introduced as evidence in the record. Bruton, 391 U.S. at 136. The Supreme Court recognized

that the risk of prejudice to the defendant, caused by the incriminating statement, was far too great,

despite limiting jury instructions. Id.

       The Government responds that Walker’s Bruton claim is premature because the

Government has not yet sought admission of the statements, it is uncertain whether McKissick will

testify at trial, and redactions can cure any potential errors. The Government further argues that

the statements do not violate Bruton because they were made in furtherance of the co-defendants’

ongoing conspiracy and thus are admissible under Federal Rule of Evidence 801(d)(2)(E).

Additionally, the Government asserts that Bruton only applies if the statements are “powerfully

incriminating,” and McKissick’s statements are just the opposite, denying any culpability.

       The Court notes that there is no Bruton violation if McKissick chooses to testify as he

would be subject to cross-examination by Walker. Further, “even if the defendants can show

prejudice, that alone may not necessarily suffice for them to prevail; limiting instructions will often

cure any risk of prejudice, and tailoring relief from prejudice is within the district court’s

discretion.” United States v. Carter, 695 F.3d 690, 701 (7th Cir. 2012). Another way to reduce or



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eliminate any potential prejudice would be to redact portions of McKissick’s statements.

“Redactions can ensure a fair trial and preserve the effectiveness of jointly trying co-defendants

against whom the vast majority of the evidence is equally admissible.” Dixon, 2015 U.S. Dist.

LEXIS 65126, at *4.

       The Court is not convinced that Walker has shown any prejudice by the statements made

by McKissick and their potential use at trial. Redactions or limiting instructions can cure any

potential for prejudice. Furthermore, the Court agrees with the Government that McKissick’s

statements actually are exculpatory, not powerfully incriminating. Thus, Walker’s arguments for

severing his trial from McKissick’s trial are unavailing.

                                      IV. CONCLUSION

       For the foregoing reasons, Walker’s Motion to Sever (Filing No. 64) is DENIED.

       SO ORDERED.

Date: 8/2/2016




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